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                                                               May 3, 2022

VIA ECF

Hon. Stewart D. Aaron, USMJ
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

         Re:      Alvarez v. Kelco Landscaping, Inc. et al., Case No. 21-cv-09014-PAE-SDA

Dear Judge Aaron:

        I represent the Plaintiffs in the above referenced matter. The parties hereby submit this
letter consistent with the Court’s order of March 3, 2022 (directing the parties to submit a joint
status report regarding discovery) and April 6, 2022 (directing the parties to file a joint letter
indicating whether or not the Defendants consent to the filing of the proposed First Amended
Complaint).1

        Discovery Status Report. The parties have exchanged initial disclosures. In addition,
the Plaintiffs served Requests for Production of Documents on March 17, 2022. The response
deadline was extended at Defendant’s request from April 17, 2022, to May 2, 2022, and again to
May 16, 2022.

       Amended Complaint. The Defendants do not consent to the filing of the First Amended
Complaint. The parties submit the following briefing schedule in the absence of a pre-motion
conference: Plaintiff will file the motion to amend on or before May 9, 2022. Defendants will
oppose on or before May 23, 2022, and Plaintiffs’ reply, if any, will be filed on or before May
30, 2022.

                                                               Respectfully submitted,

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                                                               Steven J. Moser

CC:      All counsel of record via ECF


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 The court instructed the parties to submit a joint letter no later than April 13, 2022, regarding the proposed
amended complaint. That was later extended by the Court to April 25, 2022. On April 24, 2022, the parties
consented to a further adjournment of the date and the contents of a proposed letter application were agreed upon.
However, due to a clerical error, the letter application was not filed via ECF.


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